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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-3382

  MATTHEW BUCK,
  Plaintiff

  v.

  HASBRO, INC.,
  Defendant




                            COMPLAINT AND JURY DEMAND
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                                 NATURE OF THE COMPLAINT

     1. This is a civil action for declaratory relief to establish the rights of private citizens

        to create private, non-commercial, transformative art for their own personal use.

     2. Plaintiff is attempting to hire a private hockey manufacturer to create a set of

        “tribute” hockey pads, bearing the likeness and idea of Defendant’s intellectual

        property.

                                           PARTIES

     3. Plaintiff Matthew Buck (“Buck”) is an individual residing in Denver, Colorado,

        and is a civil rights attorney.

     4. Defendant, Hasbro, Inc., is a multinational corporation, headquartered in Rhode

        Island, doing business across the world, including across Colorado.

                               JURISDICTION AND VENUE

     5. This action arises under the copyright laws of the United States, 17 U.S.C. § 101,

        et sq. The court has subject matter jurisdiction over this claim pursuant to 27

        U.S.C. § 1331, 28 U.S.C. § 1338, and the Declaratory Judgment Act, 28 U.S.C. §

        2254.

     6. This court has personal jurisdiction over Defendant Hasbro because it conducts

        regular business in the state of Colorado, employing people in both Denver and

        Colorado Springs, Colorado, on top of selling its products across the state.

     7. Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b) and §

        1400(a).




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                                FACTUAL ALLEGATIONS

     8. Plaintiff Matthew Buck is a Civil Rights attorney in Denver, Colorado. He has

        been playing hockey for 25 years.

     9. Plaintiff wishes to have a pair of Transformers hockey pads created for himself,

        by a private manufacturer, and not for resale or so that the Plaintiff can profit

        from them.

     10. According to its Wikipedia entry, Transformers is a media franchise produced by

        American toy company Hasbro and Japanese toy company Takara Tomy. It

        follows the battles of sentient, living autonomous robots, often the Autobots and

        the Decepticons, who can transform into other forms, such as vehicles and

        animals. The franchise encompasses toys, animation, comic books, video games

        and films.

     11. Hasbro neither creates sporting equipment, nor licenses its trademarks or

        copyright to sporting goods companies.

     12. Hasbro does not sponsor any hockey teams, or any professional athletes.

     13. In conceiving the designs for the hockey pads, Buck selected designs and patterns

        that were evocative of the cartoon show he had watched in his youth.

     14. A pair of hockey pads for a goalie traditionally consists of a catcher, or a glove,

        worn on the hands; a blocker, worn on the opposite hand from the catcher, and a

        pair of leg pads.

     15. Buck collaborated with a national retailer of hockey equipment on his designs,

        meticulously choosing color, material, and placement.




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     16. None of this work was commercial in nature, as the money made will be made on

        the sale of the hockey pads themselves – the design is provided by the customer

        and is not part of the transaction with the hockey retailer.

     17. Buck provided a design for a glove based on the Decepticon Soundwave, shown

        here:




     18. Buck provided a design for a blocker based on the Autobot Bumblebee, shown

        here:




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     19. Buck provided a design for a pair of legs pads based on the Autobot Optimus

        Prime, shown here:




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     20. While evocative of the intellectual property owned by Hasbro, none of the designs

        are copies of Hasbro’s work, and are all based on artwork done by private artists

        and then modified to fit the counters of hockey equipment.

     21. In some cases, such as the Soundwave glove, other than the Decepticon logo (The

        purple robot head), if you are not intimately familiar with the original

        transformer (Shown below) you would not know it was a Hasbro product.




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     22. Both the national retailer and equipment manufacturer require permission from

        Hasbro to make the equipment, given the statutory penalties for each instance of

        copyright violation.

     23. The damages, should Hasbro pursue litigation, could reach almost $1,000,000

        should they choose to treat each logo as a separate instance of infringement.

     24. Buck reached out the Permissions@hasbro.com email address, in September of

        2020, explaining that the work was of a transformative, non-commercial, private

        use.

     25. The permissions email responded with a flat refusal, explaining that they cannot

        honor every request that they get.

     26. Buck then reached out to the general counsel of Hasbro, Tarrant Sibley, as well as

        his deputy GC, Elizabeth Cox, in November of 2020.

     27. Buck received no response from Sibley, and Cox responded to him from the

        Permissions@hasbro.com e-mail address.

     28. To be sure that Hasbro considered the request to avoid the potential of litigation,

        in November of 2020, Buck also reached out to counsel currently representing

        Hasbro in IP litigation, who did not respond.

     29. This complaint now follows.

                               FIRST CAUSE OF ACTION

                        Declaratory Judgment – Non-Infringement

                                   17 U.S.C. § 101, et seq.

     30. Plaintiff incorporates by reference the allegations in each of the proceeding

        paragraphs as if fully set forth in this paragraph.

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     31. An actual controversy exists as to whether the proposed hockey equipment

        infringes any copyright owned by Hasbro.

     32. The works are transformative in nature, and occupy a very separate space from

        Hasbro’s works, which exist in media, and the toy markets.

                             SECOND CAUSE OF ACTION

                             Declaratory Judgment – Fair Use

                                       17 U.S.C. § 107

     33. Plaintiff incorporates by reference the allegations in each of the proceeding

        paragraphs as if fully set forth in this paragraph.

     34. An actual controversy exists as to whether Buck’s commissioning of hockey

        equipment to which Hasbro holds copyrights is protected by the Fair Use

        Doctrine.

     35. Buck used Hasbro’s intellectual property as a visual reference for a highly

        transformative purpose; Buck altered the original work with new meaning, new

        expression, new form, and a new medium. Buck did not and does not wish to

        create these works for commercial gain.

     36. Thousands of artistic renditions exist in the world of The Transformers, and they

        do not infringe upon Hasbro’s market share. Similarly, the works that Buck seeks

        to have created would not infringe upon a market that Hasbro has not, and does

        not exist in.

     37. Buck is therefore entitled to a declaratory judgment that use of the Transformers

        logo and copyrighted works as a visual reference in creating the Transformers

        pads is protected by the Fair Use Doctrine.

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                                  PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff requests that this Court enter an judgment:

     38. Declaring that Buck’s works do not infringe any copyrights held by Hasbro;

     39. Declaring that Buck’s use of the Transformers characters and logos is privileged

        under, and protected by, the Fair Use Doctrine;

     40. Enjoining Hasbro, its agents, attorneys, and assigns from asserting copyrights

        against Buck, any retailer that facilitates the sale of the pads, or any company that

        manufactures the pads for Buck.

     41. Awarding any other relief the Court deems just and proper.

  DATED: November 13, 2020
                              DEMAND FOR JURY TRIAL


        Plaintiff demands a jury trial on all issues properly triable to a jury.



                                                                        Respectfully submitted,
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